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                   SC NAACP v. Alexander,
       D.S.C. Case No. 3:21-cv-03302-MGL-TJH-RMG




                   EXHIBIT 5
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 1                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF SOUTH CAROLINA
 2                         COLUMBIA DIVISION
 3        THE SOUTH CAROLINA STATE
          CONFERENCE OF THE NAACP
 4
               and
 5
          TAIWAN SCOTT, ON BEHALF OF HIMSELF
 6        AND ALL OTHER SIMILARLY SITUATED
          PERSONS,
 7
                      Plaintiffs,
 8
               vs.                Case No. 3:21-CV-03302-MGL-TJH-RMG
 9
          THOMAS C. ALEXANDER, IN HIS OFFICIAL
10        CAPACITY AS PRESIDENT OF THE SENATE;
          LUKE A. RANKIN, IN HIS OFFICIAL CAPACITY
11        AS CHAIRMAN OF THE SENATE JUDICIARY
          COMMITTEE; MURRELL SMITH, IN HIS OFFICIAL
12        CAPACITY AS SPEAKER OF THE HOUSE OF
          REPRESENTATIVES; CHRIS MURPHY, IN HIS
13        OFFICIAL CAPACITY AS CHAIRMAN OF THE HOUSE
          OF REPRESENTATIVES JUDICIARY COMMITTEE;
14        WALLACE H. JORDAN, IN HIS OFFICIAL CAPACITY
          AS CHAIRMAN OF THE HOUSE OF REPRESENTATIVES
15        ELECTIONS LAW SUBCOMMITTEE; HOWARD KNAPP,
          IN HIS OFFICIAL CAPACITY AS INTERIM
16        EXECUTIVE DIRECTOR OF THE SOUTH CAROLINA
          STATE ELECTION COMMISSION; JOHN WELLS,
17        JOANNE DAY, CLIFFORD J. EDLER, LINDA MCCALL,
          AND SCOTT MOSELEY, IN THEIR OFFICIAL
18        CAPACITIES AS MEMBERS OF THE SOUTH CAROLINA
          STATE ELECTION COMMISSION,
19
                    Defendants.
20        ______________________________________________________
21        DEPOSITION OF:   THE SOUTH CAROLINA STATE CONFERENCE
                           OF THE NAACP
22                         BY: PRESIDENT BRENDA C. MURPHY
                           (Via Videoconference)
23
          DATE:               Monday, August 8, 2022
24
          TIME:               1:22 p.m.
25

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 1                           MR. TYSON:         Sure.      We will be back in
 2        five minutes.
 3                           THE WITNESS:          Okay.
 4        (Break In Proceedings)
 5                           MR. INGRAM:         Rob, I just want to state
 6        for the record that we preserve any objections for
 7        topics that are outside of the scope of the noticed
 8        30(b)(6) subjects.
 9                           MR. TYSON:         Thank you.
10        BY MR. TYSON:
11                  Q.       All right.         Ms. Murphy, I think when we
12        left off we were going through a bunch of emails
13        talking about how the State Conference was getting
14        prepared and training and participating in the
15        process.         One of the questions that I had was -- and
16        I think you answered it earlier, but the State
17        Conference -- or the NAACP did provide a draft map
18        to the Legislature for a Congressional plan.
19        Correct?
20                  A.       Yes.
21                  Q.       And do you recall getting any feedback
22        about that proposed plan?
23                  A.       No.
24                  Q.       How was the map drawn?              Or let me step
25        back.     That was a poor question.                 Excuse me.       What

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 1        were the criteria -- how did you come up with a
 2        certain plan on how to draw the seven Congressional
 3        districts?
 4                  A.     As I mentioned, you know, we worked with
 5        other resources.          ACLU had demographers.                 You know,
 6        we looked at what we thought might be good.                         And,
 7        you know, the demographer and the statisticians
 8        looked at the data to help us, you know, make
 9        decisions that were based on the criteria and if
10        there were maybe -- you know, it was a joint effort,
11        I guess that's what I should say, in terms of us
12        working together, of sharing our ideas, our
13        thoughts, looking at what we thought were
14        challenges, and they came up -- the demographers
15        came up with a map which we reviewed and we agreed
16        upon.
17                  Q.     You said you looked at the criteria.                      It
18        was based on criteria?
19                  A.     I said the demographers, the
20        statisticians, they all helped us to make sure that
21        when the map drawing was being done that we were
22        looking at it in an objective way that we were
23        meeting criteria that needed to be met.
24                         So bottom line is, rephrasing it, they
25        kept us focused, in order for us not to be maybe

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 1       South Carolina State Conference Of The NAACP And Scott, Taiwan

         v. Mcmaster, Henry, Et Al.

 2       30(b)(6) President Brenda     C. Murphy (#5340046)

 3                         E R R A T A    S H E E T

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21       REASON____________________________________________

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23       ________________________________       _______________

24       30(b)(6) President Brenda     C. Murphy                                   Date

25

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         v. Mcmaster, Henry, Et Al.

 2       30(b)(6) President Brenda       C. Murphy (#5340046)

 3                         ACKNOWLEDGEMENT OF DEPONENT

 4           I, 30(b)(6) President Brenda        C. Murphy, do hereby declare that I

 5       have read the foregoing transcript, I have made any

 6       corrections, additions, or changes I deemed necessary as

 7       noted above to be appended hereto, and that the same is

 8       a true, correct and complete transcript of the testimony

 9       given by me.

10

11       ______________________________          ________________

12       30(b)(6) President Brenda       C. Murphy                              Date

13       *If notary is required

14                            SUBSCRIBED AND SWORN TO BEFORE ME THIS

15                            ______ DAY OF ________________, 20___.

16

17

18                            __________________________

19                            NOTARY PUBLIC

20

21

22

23

24

25

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